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United States District Court

Northern District of Ohio .
801 West Superior Avenue
Cleveland, Ohio 44113

ree 5:09 CV 1334

John R. E McGrew Case #:
tit JUDGE ADAMS
Yonkers, NY 10705

MAG. JUDGE WiMibERT

347-438-6733
&

Kelly J. Culver

25390 Chatworth Drive
Euclid, OH 44117
330-410-1813

VS Judge:
Defendants

The City Of Twinsburg, Ohio
10075 Ravenna Road
Twinsburg, OH 44087
330-425-7161

Twinsburg City Police Department
10075 Ravenna Road

Twinsburg, OH 44087
330-425-1234

Twinsburg City Building Department
10075 Ravenna Road

Twinsburg, OH 44087

330-425-7161

Twinsburg City Prosecutors Office
10075 Ravenna Road

Twinsburg, OH 44087
330-425-7161

Mayor Catherine Procop
10075 Ravenna Road
Twinsburg, OH 44087
330-425-7161
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Russell Rodic Case #:
10075 Ravenna Road

Twinsburg, OH 44087

330-425-7161

David Maistros

10075 Ravenna Road
Twinsburg, OH 44087
330-425-7161

Brian Steele

10075 Ravenna Road
Twinsburg, OH 44087
330-425-7161

Terry Wain

10075 Ravenna Road
Twinsburg, OH 44087
330-425-7161

Jeffrey Hayes

10075 Ravenna Road
Twinsburg, OH 44087
330-425-7161

Joseph Campbell
10075 Ravenna Road
Twinsburg, OH 44087
330-425-7161

Richard S. Jacofsky
1605 Ridgewood Court
Twinsburg, OH 44087

Suzanne M. Koepke
1903 West 23™ Street
Lorain, OH 44052

John Doe 1
Address Unknown

John Doe 2 .
Address Unknown

Jane Doe 1
Address Unknown

Jane Doe 2
Address Unknown

Case #:
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Civil Rights Complaint & Motion For Relief and Restitution

Now comes John R. E. McGrew and Kelly J. Culver, by and through John R. E. McGrew,
on a pro se basis, to request this court review the actions of The City of Twinsburg, OH, The
Building Department of the City of Twinsburg, The Prosecutors Office Of The City Of Twinsburg,
The Police Department of the City of Twinsburg, Mayor Catherine Procop, Prosecutor David
Maistros, Building Commissioner Russell Rodic, Officer Terry Wain, Officer Brian Steele, Officer
Jeffrey Hayes, Parks and Recreations Employee Joseph C. Campbell, Parks and Recreations
Employee (possibly former employee) David Hoyack and resident Richard S. Jacofsky and Suzanne
M. Koepke and additional unnamed defandants John Doe 1, John Doe 2, Jane Doe 1 and Jane Doe 2,
defendants and grant relief and restitution to the plaintiffs as requested and deemed fair and just by
this court for actions committed by the above named Defendants between the dates of April 25",
2007 and June 16”, 2008 with the sole intention and goal to deprive the Plaintiffs of Peaceful and
Rightful use of their residence in a legal manner.

It is an undisputed fact that on July 28", 2005, that the Plantiffs did in fact pay Ten
Thousand Dollars and no/100 ($10,000.00) as the down payment in a land contract agreement to
Suzanne M. Koepke and did in fact make payments to Suzanne M. Koepke in amounts ranging from
One Thousand Dollars ($1,000.00) to Feur Thousand Dollars ($4,000.06) per month beginning in the
month of September, 2007 for the purpose of fulfilling said Land Instalment Contract on 1621
Ridgewood Court, Twinsburg, OH 44087 and that they did make repeated demands of Defendant
Suzanne M. Koepke for a signed and recorded land instalment contract on said property and the
Defendant Suzanne M. Koepke did in fact repeatedly fail to provide said contract.

It is an undisputed fact that on the weekend of April 30°, 2007, that the Twinsburg City
Police Department did in fact enter the residence of 1621 Ridgewood Court, Twinsburg, OH 44087
without just cause, permission, probable cause and/or warrant while the residents were out of town
for a few days under the guise of a welfare check. All while it was clear and evident by looking in the
windows that the residents were not home. Further, the Twinsburg City Police Department did in

fact instruct and order a Lawrence Koterba to enter the 1621 Ridgewood Court, Twinsburg, OH
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44087 without a warrant, just cause, probable cause and/or warrant to retrieve and a phone number
and that Lawrence Koterba had no rights or reason to believe that he had rights to enter the
residence of the Plaintiffs under the instructions of the Twinsburg City Police Department in
Violation of the Fourth Amendment.

It is an undisputed fact that on or about August 27", 2007 that the Twinsburg City Police
Department did in fact enter the residence of 1621 Ridgewood Court, Twinsburg, OH 44087 without
just cause, probable cause and/or warrant and did in fact remove a fan from a kitchen window and
did not leave any notice of said entry into the residence in violation of the Fourth Amendment.

It is an undisputed fact that on or about month of August that Defendant Twinsburg City
Police Officer Jeffrey Hayes did in fact appear at the residence of 1621 Ridgewood Court,
Twinsburg, OH 44087 with Suzanne M. Koepke and did in fact begin running the license plates on
parked vehicles on private property without probable cause and attempted to enter the residence of
1621 Ridgewood Court without probable cause, just cause and/or warrant in violation of the Fourth
Amendment. He was denied access by Plaintiff John R. E. McGrew.

It is an undisputed fact that on or about October 17, 2007 that Plaintiff John R. E. McGrew
did in fact report a stolen $2400.00 check, license plates, tools, building materials and miscellaneous
items by Defendant Suzanne M. Koepke and that Defendant Twinsburg City Police Officer Jeffrey
Hayes did in fact refuse to take said report, instead he insisted on contacting Defendant Suzanne M.
Koepke himself and taking possession of the tools and miscellaneous items himself to return them to
Plaintiff John R. E. McGrew refusing to demand the return of the stolen check and/or building
materials from Defendant Suzanne M. Koepke and refusing to complete a police report and forward
for prosecution in violation of the Fourth Amendment and Section 1 of the Fourteenth Amendment.

That on or about October 20", 2007 that Defendant Twinsburg City Police Department did
in fact serve on John R. E. McGrew a warrant issued by the Summit County Court and requested by
the Defendant Twinsburg City Building Department and Defendant Twinsburg City Building
Commissioner Russell Rodic, Defendant Twinsburg City Prosecutor’s Office and Defendant
Twinsburg City Prosecutor David Maistros for the arrest of Plaintiff John R. E. McGrew for

Building Code violations that he had never been served with or been made aware he was responsible
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for and in a manner that was not and is not consistent with the serving of a subpoena for Building
Code Violations and that John R. E. McGrew was in fact question concerning these violations by
Defendant David Maistros without being advised of his Miranda Rights and without signing off on
his Miranda Rights at any time in violation of Plaintiff John R. E. McGrew’s rights under the Sixth
Amendment. That Plaintiff John R. E. McGrew did in fact request a copy of evidence against him
directly from Defendant David Maistros and was denied, that Plaintiff John R. E. McGrew was
never offered the opportunity to retain a public defender as is the standard practice in other cases by
the court or the prosecutor’s office and that the Defendants Twinsburg City Prosecutor’s Office,
Twinsburg City Prosecutor, Twinsburg City Building Department and Twinsburg City Building
Commissioner Russell Rodic into pleading guilty for Building Code Violations on a property he had
no legal ownership rights to thus no legal responsibility for the maintenance of said property and
that Plaintiff John R. E. McGrew was in fact threatened with jail time if he did not plead guilty to
said charges.

It is an undisputed fact that on or about the Spring and early Summer of 2007 that the
Twinsburg City Building Department did in fact place inside the public file located in the Twinsburg
City Building Department pictures of the interior of the Plaintiff’s residence located at 1621
Ridgewood Court, specifically photographs of the Plaintiffs’ childrens’ play room and toys of said
Plaintiffs’ Children. Said Photographs were taken at an unknown time and carried with them
absolutely no public service or value and did in fact place the Plaintiffs’ and their minor Children at
great risk thus creating a risk of child endangerment if pedophiles/sex offenders were to visit and
view the file on the Plaintiffs’ residence.

It is an undisputed fact that on or about June 16”, 2008 that Plaintiff John R. E. McGrew
was in fact attacked by Defending Twinsburg City Parks and Recreations Department Employee
Joseph C. Campbell at Brewster’s Pub located on Darrow Road in the City of Twinsburg, Ohio and
that said attack was unprovoked by the Plaintiff John R. E. McGrew and that the Plaintiff did in fact
contact Defendant Twinsburg City Police Department via 911 and the call was responded to by
Defendants Twinsburg City Police Officers Terry Wain and Jeffrey Hayes and that Plaintiff John R.

E. McGrew did in fact suffer injury to his right hand in the attack and that the Defendants Terry
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Wain and Jeffrey Hayes did in fact refuse to arrest and charge Defendant Joseph C. Campbell with
assault and battery as the law requires when one individual attacks another individual and causes
injury.

It is an undisputed fact that on June 16", 2008 that Plaintiff John R. E. McGrew did in fact
return to his residence located at 1621 Ridgewood Court, Twinsburg, Ohio 44087 to find the home
had been emptied of all of it’s personal possessions and that Plaintiff John R. E. McGrew did in fact
contact the Twinsburg City Police Department and advise them that the home had been robbed.
Defendant Twinsburg City Police Officer Terry Wain did respond, briefly got out of his car and
walked up the driveway where he turned around and went back to his car and then left. He was
advised by Plaintiff John R. E. McGrew that the home was probably broken into by Suzanne M.
Koepke and Officer Terry Wain did in fact make contact with Defendant Suzanne M. Koepke via
telephone and she did in fact per the e-mail from Officer Terry Wain to Defendant David Maistros
admitted to breaking into the home. However, it is also an undisputed fact that Defendant Officer
Terry Wain did refuse to take a police report, he did refuse to order Defendant Suzanne M. Koepke
to return the stolen items and that Twinsburg City Prosecutor David Maistros did in fact advise
Defendant Officer Terry Wain to not prosecute the case.

It is an undisputed fact that on June 16", 2008 that Plaintiff John R. E. McGrew did in fact
have an open and pending case the Bankruptcy Court, Northern District of Ohio and that said case
did in fact list the family residence in it and there was a stay against any action against said property,
that Twinsburg City Police Department, Twinsburg City Prosecutor’s Officer, Twinsburg City
Building Department, Twinsburg City Prosecutor David Maistros and Twinsburg City Building
Commissioner Russell Rodic were in fact aware of Bankruptcy Filing and the placement of a stay
against any action concerning Plaintiff John R. E. McGrew and the residence located at 1621
Ridgewood Court Twinsburg, Ohio 44087.

It is an undisputed fact that on June 17", 2008 that Plaintiff John R. E. McGrew did in fact
enter the Twinsburg City Building Department and request a copy of the file relating to his residence
located at 1621 Ridgewood Court Twinsburg, Ohio 44087 and that he did in fact receive a copy of

said files contents that pertained to all items dated within the time of the Plaintiffs occupancy up to
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and including items dated October 17", 2008.

It is an undisputed fact that on or about June 16", 2008 that Richard Jacofsky did in fact
approach Plaintiff John R. E. McGrew and tell him to move out of his house and just go get an
apartment immediately after Plaintiff had learned his home had been burglarized, in violation of
Federal Fair Housing Laws and in an attempt to force the Plaintiff from his legal residence.

It is an undisputed fact that on or about June 28", 2008 that Plaintiff Kelly J. Culver did in
fact attempt to file a police report with Twinsburg City Police concerning the theft of personal items
from the Plaintiffs residence at 1621 Ridgwood Court, that she spoke with Defendant Brian Steele
and that Officer Brian Steele did in fact refuse to take a police report and that he did in fact deny her
access to the courts as she is legally entitled and assisted the other Defendants with the theft and
creative forceful eviction from the residence in violation of the Fourth Amendment.

The Plaintiffs hereby do accuse and make it known that Defendants: Suzanne M. Koepke,
David Maistros, Terry Wain, Jeffrey Hayes, Russell Rodic, Richard Jacofsky, Catherine Procop,
Twinsburg City, Twinsburg City Prosecutors Office, Twinsburg City Building Department,
Twinsburg City Police Department, John Doe 1, John Doe 2, Jane Doe 1 and Jane Doe 2 did in fact
conspire to forcibly and without legal rights and without legal cause to evict the Plaintiffs John R. E.
McGrew and Kelly J. Culver and their minor children from the residence located at 1621 Ridgewood
Court, Twinsburg, Ohio 44087 with complete and total disregard for the laws concerning housing,
civil rights and Constitutional Rights for their own personal agendas and to steal the possessions of
the Plaintiffs and the Plaintiffs minor children, to force Plaintiff John R. E. McGrew to not be able to
see and spend time with his minor children, that the Defendants did in fact endanger the safety and
welfare of said minor children and that of the Plaintiffs, that they did in fact participate in the theft
of property from the plaintiffs and that they did in fact participate in the sale and transportation of
the Plaintiffs’ personal property across state and potentially and reasonably possible international
lines. That the Defendants did in fact conspire to attack and injure Plaintiff John R. E. McGrew
with the expressed purpose of forcing him to leave the residence located at 1621 Ridgewood Court,
Twinsburg, Ohio 44087 and that the Defendants were successful in getting the Plaintiffs to vacate

said residence in fear of their personal safety.

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The Plaintiffs hereby respectfully request this court to appoint a special prosecutor to review
the actions of the Defendants in this series of incidents and give said Special Prosecutor the ability
and freedom to discover all the facts he deems to be pertinent and prosecute as the law demands.
The Plaintiffs further request this court order the return of all the items which were removed from
the family residence located at 1621 Ridgewood Court Twinsburg, Ohio 44087 and that the
Defendants be ordered to replace any and all items damaged, destroyed, lost and/or not returned to
the Plaintiffs and that this all be done at the Defendants cost including but not limited to
transportation costs and that the Defendants be ordered to pay for any and all costs including but not
limited to lost time from work, babysitting and so on that the Plaintiffs might incur in the process of
the returning of said items. The Plaintiffs continue to request that this court place a restraining
order against The City of Twinsburg, The Twinsburg City Police Department, Twinsburg City
Prosecutor’s Office, Twinsburg City Building Department, David Maistros, Russell Rodic and any
and all employees, agents, family members and so on from having any and al] contact with the
Plaintiffs except through this court and/or their attorney and that this apply also to any attempts to
execute a warrant against the Plaintiffs including but not limited to the payment of any unpaid fines
and/or costs until such time as this court has had opportunity to review said item and deem it owed
or not owed. The Plaintiffs also request this court order the Defendants to refund to the Plaintiffs
One Hundred Thousand Dollars and no/100‘s ($100,000.00) as repayment for monies invested into
the purchase and updating/repairing of the residence located at 1621 Ridgewood Court, Twinsburg,
Ohio 44087 which was lost due to the direct and deliberate actions of the Defendants. The Plaintiffs
request this court order each of the Defendants to individually pay to the Plaintiffs jointly One
Billion Dollars and no/100’s ($1,000,000,000.00) as punitive damages for the direct and deliberate
actions of the Defendants and the personal physical, emotional and mental trauma they caused to the
Plaintiffs. That this court recognize that the Defendants will attempt to hide behind the immunity
protection afforded them by their offices and that they be denied said protection as the test for such
protection is dependant upon whether a reasonable person would be aware that such acts were illegal
then the immunity is to be denied and these acts were so blatant and deliberate that they can not

possibly be actions that were intended to be protected by the legislature when it afforded immunity
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to public employees and elected officials. The Plaintiffs also respectfully request this court to order
Defendant Suzanne M. Koepke to turn over to this court and the Plaintiffs the names of the 4
individuals who entered the residence at 1621 Ridgewood Court, Twinsburg, Ohio 44087 and the
names and addresses of any and all individuals who purchased and/or received property from the
Plaintiffs residence, who assisted in the transportation of said property and/or stored said property
and the Plaintiffs reserve the right to add said individuals to the list of those who are Defendants in
this case and that the Plaintiffs seek the same and equal damages against them as they do all other
Defendants. The Plaintiffs request that the conviction from December 2007 against Plaintiff John R.
E. McGrew for Building Code Violations be vacated and permanently removed from his record and
all fines and costs paid to date be refunded to the Plaintiffs. The Plaintiffs do also request this court

to order any additional terms and conditions as this court may deem fair and just.

ly J. Galv
Plaintiff

A copy of this civil rights case has been sent to the defendants listed above at the addresses provided

via on , 2009.

Signature of Agent Serving Defendants
